                  Case 20-50627-CTG                Doc 90       Filed 02/04/22          Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                         Chapter 7

    THE ART INSTITUTE OF PHILADELPHIA                              Case No. 18-11535 (LSS)
    LLC, et al.,1
                                                                   Jointly Administered
                          Debtors.
    _______________________________________
    GEORGE L. MILLER, Chapter 7 Trustee,

                                     Plaintiff,                    Adv. Pro. No. 20-50627 (LSS)
                                v.
                                                                   Re: D.I. 87
    TODD S. NELSON, et al.,

                                     Defendants.

                                     ORDER ON MOTIONS TO DISMISS




1
  The Debtors are the following entities (the last four digits of their respective taxpayer identification numbers follow
in parentheses): American Education Centers, Inc. (6160); Argosy Education Group, Inc. (5674); Argosy University
of California LLC (1273); Brown Mackie College - Tucson, Inc. (4601); Education Finance III LLC (2533); Education
Management LLC (6022); Education Management II LLC (2661); Education Management Corporation (9571);
Education Management Holdings II LLC (2529); Higher Education Services II LLC (3436); Miami International
University of Art & Design, Inc. (1065); South Education – Texas LLC (2573); South University of Florida, Inc.
(9226); South University of Michigan, LLC (6655); South University of North Carolina LLC (9113); South University
of Ohio LLC (9944); South University of Virginia, Inc. (9263); South University, LLC (7090); Stautzenberger College
Education Corporation (4675); TAIC-San Diego, Inc. (1894); TAIC-San Francisco, Inc. (9487); The Art Institutes
International Minnesota, Inc. (6999); The Art Institute of Atlanta, LLC (1597); The Art Institute of Austin, Inc. (3626);
The Art Institute of California-Hollywood, Inc. (3289); The Art Institute of California-Inland Empire, Inc. (6775);
The Art Institute of California - Los Angeles, Inc. (4215); The Art Institute of California-Orange County, Inc. (6608);
The Art Institute of California-Sacramento, Inc. (6212); The Art Institute of Charleston, Inc. (6048); The Art Institute
of Charlotte, LLC (4912); The Art Institute of Colorado, Inc. (3062); The Art Institute of Dallas, Inc. (9012); The Art
Institute of Fort Lauderdale, Inc. (0255); The Art Institute of Houston, Inc. (9015); The Art Institute of Indianapolis,
LLC (6913); The Art Institute of Las Vegas, Inc. (6362); The Art Institute of Michigan, Inc. (8614); The Art Institute
of Philadelphia LLC (7396); The Art Institute of Pittsburgh LLC (7441); The Art Institute of Portland, Inc. (2215);
The Art Institute of Raleigh-Durham, Inc. (8031); The Art Institute of St. Louis, Inc. (9555); The Art Institute of San
Antonio, Inc. (4394); The Art Institute of Seattle, Inc. (9614); The Art Institute of Tampa, Inc. (6822); The Art Institute
of Tennessee-Nashville, Inc. (5359); The Art Institute of Virginia Beach LLC (2784); The Art Institute of Washington,
Inc. (7043); The Art Institutes International II LLC (9270); The Illinois Institute of Art at Schaumburg, Inc. (3502);
The Illinois Institute of Art, Inc. (3500); The Institute of Post-Secondary Education, Inc. (0283); The New England
Institute of Art, LLC (7798); The University of Sarasota, Inc. (5558);Western State University of Southern California
(3875).



DOCS_DE:238181.1 57092/001
              Case 20-50627-CTG           Doc 90     Filed 02/04/22   Page 2 of 3




       Upon consideration of the Motions to Dismiss (the “Motions”) filed by Defendants John

R. McKernan, Edward West, and Mick Beekhuizen (A.D.I. 48), Todd S. Nelson and Samuel C.

Cowley (A.D.I. 45), Mark McEachen, Frank Jalufka, and John Danielson (A.D.I. 42), and John

Devitt Kramer and Mark Novad (A.D.I. 40), for the reasons set forth in the Court’s Memorandum

Opinion (A.D.I. 87), it is hereby ORDERED that the Motions are granted in part and denied in

part, and all claims in the Complaint are dismissed without prejudice except as follows:

       (a) The claims for breach of fiduciary duty (Count I) against those Defendants who are

           alleged to have served as directors or officers of a Delaware-incorporated entity in the

           period beginning three years before the petition date and those who are alleged to have

           served as directors or officers of a Pennsylvania-incorporated entity in the period

           beginning two years before the petition date (namely, Defendants West, Novad, and

           Beekhuizen, in connection with their alleged positions as directors or officers of the

           four Delaware holding companies; and Defendants McEachen, Danielson, Kramer, and

           Jalufka in connection with their alleged positions as directors or officers of Education

           Management Corporation and the four Delaware holding companies and, solely as to

           Defendant Jalufka, of each Debtor);

       (b) The claims for civil conspiracy (Count III) against the same Defendants listed in the

           immediately-preceding paragraph (a), in connection with their alleged positions as

           directors or officers of the same entities; and

       (c) The claims for constructive fraudulent conveyance, namely Count VII and Count IX

           (solely as to constructive fraudulent conveyance claims), and Count X (solely as to

           claims for recovery based on constructive fraudulent conveyance claims under Count

           VII and/or Count IX).



                                                 2
              Case 20-50627-CTG         Doc 90      Filed 02/04/22    Page 3 of 3




       Nothing in this Order is intended to or shall alter or amend the Memorandum Opinion in

any way.

                                      MISCELLANEOUS

       The Trustee is granted leave to file an amended complaint within 15 days of entry of this

Order, and shall include the statement required by footnote 20 of the Memorandum Opinion as to

whether the count for breach of fiduciary duty is core or non-core and, if non-core, as to whether

the Trustee does or does not consent to entry of final orders or judgment by the Court. Those

Defendants remaining in the case shall have 45 days from the date of such filing to move or plead

in response to the amended complaint.




 Dated: February 4th, 2022                CRAIG T. GOLDBLATT
 Wilmington, Delaware                     UNITED STATES BANKRUPTCY JUDGE




                                                3
